Case: 7:08-cr-00028-KKC-EBA           Doc #: 439 Filed: 08/14/15       Page: 1 of 1 - Page
                                         ID#: 1262                         Eastern District of Kentucky
                                                                                 FILED
                          UNITED STATES DISTRICT COURT                          AUG 1 4 2015
                          EASTERN DISTRICT OF KENTUCKY
                                                                                   AT LEXINGTON
                         SOUTHERN DIVISION - AT PIKEVILLE                        ROBERT R. CARR
                                                                             CLERK U.S. DISTRICT COURT

UNITED STATES OF AMERICA,                        CRIMINAL ACTION NO. 7:08-28-KKC
      Plaintiff,

                                                           MEMORANDUM
v.                                                       OPINION AND ORDER

JOSEPH HALL,
      Defendant.



                                         *** *** ***

       This matter is before the Court on Defendant Joseph Hall's motion (DE 436) for a

sentence reduction based on Amendment 782 to the United States Sentencing Guidelines.

The amendment reduces by two the offense levels assigned in the Drug Quantity Table,

U.S.S.G. § 2Dl.1, resulting in lower guideline ranges for most drug trafficking offenses.

       IT IS ORDERED that the motion is GRANTED and the defendant's previously

imposed sentence of imprisonment of 126 months is reduced to 81 months.           For reasons

stated on the record, the original sentence encompassed a downward variance from the

applicable guideline range. The revised sentence represents a corresponding comparable

variance from the amended guideline range.

       The defendant's advanced age and lack of criminal history indicated that he is not

likely to reoffend.    Moreover, a sentence of 81 months protects the public and promotes

respect for the law.

       Dated August 13, 2015.


                                              KARE     . CALDWELL, CHIEF JUDGE
                                              U.S. DISTRICT COURT
